            Case 1:22-cr-00096-CKK Document 83 Filed 05/31/22 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA          :
                                  :
           v.                     :
                                  :                    CRIMINAL NO. 22-CR-96 (CKK)
LAUREN HANDY,                     :
                                  :
JONATHAN DARNELL,                 :
                                  :
JAY SMITH (aka JUANITO PICHARDO), :
                                  :
PAULETTE HARLOW,                  :
                                  :
JEAN MARSHALL,                    :
                                  :
JOHN HINSHAW,                     :
                                  :
HEATHER IDONI,                    :
                                  :
WILLIAM GOODMAN, and              :
                                  :
JOAN BELL,                        :
                                  :
           Defendants.            :



                     PROTECTIVE ORDER GOVERNING DISCOVERY

       To expedite the flow of discovery material between the parties and adequately protect

personal identity information entitled to be kept confidential, it is, pursuant to the Court’s authority

under Fed. R. Crim. P. 16(d)(1) and with the consent of the parties, ORDERED:

                                            All Materials

       1.       All materials provided by the United States in preparation for, or in connection with,

any stage of this case (collectively, “the materials”) are subject to this protective order (“the Order”)

and may be used by the defendant and defense counsel (defined as counsel of record in this case)

solely in connection with the defense of this case, and for no other purpose, and in connection with

no other proceeding, without further order of this Court.
             Case 1:22-cr-00096-CKK Document 83 Filed 05/31/22 Page 2 of 4




        2.       The defendant and defense counsel shall not disclose the materials or their contents

directly or indirectly to any person or entity other than persons employed to assist in the defense,

persons who are interviewed as potential witnesses, counsel for potential witnesses, and other

persons to whom the Court may authorize disclosure (collectively, “authorized persons”). Potential

witnesses and their counsel may be shown copies of the materials as necessary to prepare the

defense, but they may not retain copies without prior permission of the Court.

        3.       The defendant, defense counsel, and authorized persons shall not copy or reproduce

the materials except in order to provide copies of the materials for use in connection with this case

by defendant, defense counsel, and authorized persons. Such copies and reproductions shall be

treated in the same manner as the original materials. The defendant, defense counsel, and

authorized persons shall not disclose any notes or records of any kind that they make in relation to

the contents of the materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.

        4.       Before providing materials to an authorized person, defense counsel must provide

the authorized person with a copy of this Order.

        5.       Defense counsel may retain a copy of the Materials following the conclusion of

this case. This Order shall remain in effect after the conclusion of this case and shall continue to

govern the dissemination, use, reproduction, storage, and retention of Materials disclosed in this

case. Nothing in this Order prevents the government from seeking a court order requiring that the

Materials be returned or to further restrict the retention of the Materials, and nothing in this Order

prevents defense counsel from seeking a court order allowing broader retention of the Materials.

        6.       The restrictions set forth in this Order do not apply to documents that are or become

part of the public court record, including documents that have been received in evidence at other

trials, nor do the restrictions in this Order limit defense counsel in the use of the materials in judicial

proceedings in this case, except as described below.
            Case 1:22-cr-00096-CKK Document 83 Filed 05/31/22 Page 3 of 4




                                        Sensitive Materials

       7.       The United States may produce materials containing personal identity information

as identified in Rule 49.1 of the Federal Rules of Criminal Procedure (“sensitive materials”) to

defense counsel, pursuant to the defendants’ discovery requests. Sensitive materials shall be plainly

marked as “sensitive” by the United States prior to disclosure.

       8.       No sensitive materials, or the information contained therein, may be disclosed to any

persons other than the defendant, defense counsel, persons employed to assist the defense, or the

person to whom the sensitive information solely and directly pertains, without prior notice to the

United States and authorization from the Court. Absent prior permission from the Court,

information marked as sensitive shall not be included in any public filing with the Court, and instead

shall be submitted under seal (except if the defendant chooses to include in a public document

sensitive information relating solely and directly to the defendant).

       9.       Sensitive materials must be maintained in the custody and control of defense

counsel. Defense counsel may show sensitive materials to the defendant as necessary to assist in

preparation of the defense, however, defense counsel may not provide a copy of sensitive materials

to the defendant. Moreover, if defense counsel does show sensitive materials to the defendant,

defense counsel may not allow the defendant to write down any personal identity information as

identified in Rule 49.1 of the Federal Rules of Criminal Procedure that is contained in the sensitive

materials. If the defendant takes notes regarding sensitive materials, defense counsel must inspect

those notes to ensure that the defendant has not copied down personal identity information as

identified in Rule 49.1 of the Federal Rules of Criminal Procedure.

       10.      The procedures for admission of designated sensitive materials during any hearing

or the trial of this matter shall be determined by the parties and the Court in advance of

admission at the hearing or trial. No party shall disclose designated confidential documents in

open court without prior consideration by the Court.

                                        Scope of this Order
            Case 1:22-cr-00096-CKK Document 83 Filed 05/31/22 Page 4 of 4




         11. Modification Permitted. Nothing in this Order shall prevent any party from

seeking modification of this Order or from objecting to discovery that it believes to be otherwise

improper.

         12. No Waiver. The failure by the United States to designate any materials as

“sensitive” upon disclosure shall not constitute a waiver of the United States’ ability to later

designate the materials as sensitive.

         13. No Ruling on Discoverability or Admissibility. This Order does not constitute a

ruling on the question of whether any particular material is properly discoverable or admissible and

does not constitute any ruling on any potential objection to the discoverability of any material.



        SO ORDERED this 31st day of            May      , 2022.



                                               /s/
                                         THE HONORABLE COLLEEN KOLLAR-KOTELLY
                                         UNITED STATES DISTRICT JUDGE
